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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

UNITED STATES                                        CRIMINAL ACTION

VERSUS                                               NO: 13-66

WALTER PORTER                                        SECTION: R

                            ORDER AND REASONS

        Defendant Walter Porter moves the Court to suppress the testimony of

former police officer Beau Gast and any information derived from a "Field

Interview Card" that Gast created after a January 26, 2011 traffic stop of

Porter.1 For the following reasons, the Court denies the motion.



I.      BACKGROUND

        On April 17, 2014, a federal grand jury returned a second superseding

indictment against Walter Porter, charging him with the November 21, 2010

murder of Christopher Smith. Specifically, Porter is charged with committing

murder-for-hire (Count 2) and causing death through a firearm (Count 3), as

well as conspiracy to possess firearms (Count 4).2 Porter pleaded not guilty,

and his jury trial is scheduled for March 7, 2016.


        1
             R. Doc. 311.
        2
             R. Doc. 99.
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      According to the Government's theory of the case, co-defendant

Nemessis Bates hired Porter and co-defendant Aaron Smith to kill the victim

after the victim stole Bates's jewelry.              While the New Orleans Police

Department’s murder investigation was ongoing, on January 26, 2011, former

NOPD officer Beau Gast conducted a traffic stop of an African-American male

driving a black 2008 Mercedes-Benz in New Orleans, Louisiana. According

to a "Field Interview Card" that Gast created during or after the stop, Gast

stopped the vehicle for an unspecified "traffic violation."3 The Field Interview

Card does not reveal any additional information regarding the nature of the

traffic violation or Gast's justification for making the stop. The Field Interview

Card also indicates that Walter Porter was driving the Mercedes at the time of

the stop.4 In addition to Porter’s name, Gast noted Porter’s race, gender, date

of birth, height, and weight on the Field Interview Card.5 It is undisputed that

Gast did not arrest Porter or issue him a traffic citation; nor did he conduct a

search of the vehicle.6 It is also undisputed that Porter did not own the


      3
             R. Doc. 311, Exhibit A, at 1. The card does not reveal any more
information regarding the nature of the traffic violation or the surrounding
circumstances.
      4
             Id.
      5
             Id.
      6
             R. Doc. 311-1 at 2; R. Doc. 335 at 1.

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Mercedes that he was driving on January 26, 2011. Rather, the vehicle

belonged to co-defendant Nemessis Bates.

      Two years after this traffic stop, in February 2013, the Government filed

in this Court an Application for Court Order for Disclosure of Historical Cell-

Site Records7 pursuant to the Stored Communications Act ("SCA"), 18 U.S.C.

§§ 2701-2712. The Government’s application requested historical cell site

records for a phone number the Government believes to be associated with

Porter for the time period surrounding the November 21, 2010 murder of

Christopher Smith.8 The Government identified the following evidence,

among other evidence, pointing to Porter’s involvement in the Smith murder:

      •     A ballistics analysis determining that the same firearm used to kill
            Christopher Smith was also used in the attempted murder of John
            Matthews, a crime for which Porter has been charged;

      •     A confidential source ("CS1") told investigators that Nemessis
            Bates had referred to two men that CS1 saw at Bates’s business as
            "the killers";

      •     CS1 also told investigators that Nemessis Bates told him/her that
            Bates owed those two men money for killing Smith;

      •     CS1 identified from two separate six-person photographic line-ups
            Aaron Smith and Walter Porter as the two people he/she had seen
            at Bates’s business and that Bates had referred to as "the killers";


      7
            See R. Doc. 335-2.
      8
            See id.

                                       3
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     •     Aaron Smith told investigators that he was an associate of Porter;

     •     Phone records for Aaron Smith revealed that on the day of
           Christopher Smith’s murder, Aaron Smith received an incoming
           call from a number that investigators knew to be used by Porter;

     •     The number that investigators knew to be used by Porter had also
           called Bates several times in November and December 2010, after
           the murder of Christopher Smith;

     •     Another confidential source ("CS2"), who was a "close associate"
           of Porter's told investigators that Porter told CS2 that Bates hired
           Porter and Aaron Smith to kill someone;

     •     Days after the Smith murder, a Florida Highway Patrol officer
           stopped Porter for a traffic violation while Porter was driving a red
           Toyota Camry, which was rented in Bates's name; and

     •     Months after the Smith murder, a NOPD officer stopped Porter for
           a traffic violation while Porter was driving a black Mercedes-Benz,
           which was Bates's personal vehicle.

     Based on the foregoing information, the Magistrate Judge found that the

Government had offered specific and articulable facts showing that there are

reasonable grounds to believe that the requested records were relevant and

material to the Government's ongoing murder investigation.9 On February 28,

2011, the Magistrate Judge granted the Government’s application and ordered

AT&T to disclose the requested records under 18 U.S.C. § 2703(d).10



     9
           Id.
     10
           Id.

                                      4
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      Porter now moves to suppress Gast's testimony, the introduction of the

Field Interview Card, and the cell phone records obtained in February 2011.

First, Porter argues that the traffic stop violated his Fourth Amendment rights

because Gast had no reasonable, articulable suspicion for stopping the vehicle

that Porter was driving. Porter also argues that because the traffic stop was

unlawful, the Court must exclude the cell phone records under the "fruit of the

poisonous tree" doctrine because the Government’s application for those

records "relied, in large part, on . . . Officer Gast’s [Field Interview Card]

linking Mr. Porter to Nemesis Bates’ Mercedes." Second, Porter argues that

the traffic stop violated his Fifth Amendment rights because merely identifying

himself as Walter Porter was self-incriminating. The Government opposes the

motion.



II.   DISCUSSION

      In his motion, Porter contests the legality of the traffic stop conducted

by Gast, as well as the propriety of the Government "subsequent, derivative

use of [the] stop to obtain cell tower records" related to its investigation of the

murder of Christopher Smith.




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      A.    Lawfulness of the Traffic Stop

      The Fourth Amendment protects against unreasonable searches and

seizures. U.S. Const. amend. IV. Stopping a vehicle and detaining its

occupants is a seizure within the meaning of the Fourth Amendment. United

States v. Jones, 234 F.3d 234, 239 (5th Cir. 2000). A traffic stop is therefore

"subject to the constitutional imperative that it not be 'unreasonable' under the

circumstances." Whren v. United States, 517 U.S. 806, 810 (1996). Courts

"analyze the legality of traffic stops for Fourth Amendment purposes under the

[reasonable suspicion] standard articulated in Terry v. Ohio." United States

v. Grant, 349 F.3d 192, 196 (5th Cir. 2003). This involves a two-part inquiry

into "(1) whether the officer's action was justified at its inception and (2)

whether the search or seizure was reasonably related in scope to the

circumstances that justified the stop in the first place." Id. (citing Terry v.

Ohio, 392 U.S. 1, 20 (1968)).

      Here, Porter argues that the Government cannot carry its burden of

demonstrating that Gast's initial decision to stop the vehicle in which Porter

was driving was justified. Gast admits that he has no independent recollection

of why he stopped Porter's vehicle, what transpired during the stop, or how

long Porter was detained. Further, Porter contends that the Field Interview

Card only conclusorily stated that Porter committed a "traffic violation."

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While the Government filed an opposition memorandum, it concedes that

"because Officer Gast is unable to recall the lawful stop which prompted him

to issue a [Field Interview Card], the government does not deem his testimony

to be particularly probative in its case-in-chief."11         Accordingly, the

Government represents that it will not seek to introduce either the Field

Interview Card or Gast's testimony in its case-in-chief.12

      In light of the Government's representation, the Court need not rule on

Porter's motion to suppress the Field Interview Card and Gast's testimony at

this time. Should the Government change course, the Court will decide the

relevant issues at that time. The Government shall notify the Court in advance

of any change of position regarding the proffered use of this evidence.

      B.    The Historical Cell Site Records Are Not Suppressible As
            Fruits of the Poisonous Tree

      Porter argues that if the Court finds that Gast's January 2011 traffic stop

was unlawful, then it must suppress not only Gast's Field Interview Card and

testimony but also the historical cell site records that the Government

obtained two years later, during its investigation into the murder of

Christopher Smith. This argument fails because even if Gast's traffic stop were


      11
            R. Doc. 368 at 2.
      12
            Id. at 3.

                                       7
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unlawful, the connection between the illegality and the historical cell site

records "is 'so attenuated as to dissipate the taint.'"         United States v.

Grosenheider, 200 F.3d 321, 327 (5th Cir. 2000) (citing Nardone v. United

States, 308 U.S. 338, 341 (1939)).

      As noted, the Government acquired the relevant records in February

2013 by applying for and securing a court order, pursuant to the Stored

Communications Act ("SCA"). Briefly, the SCA provides several methods by

which the Government may require a service provider to disclose non-content

records or other subscriber information, including securing a court order for

the records. 18 U.S.C. § 2703(c). Upon the Government's application, a court

order "shall issue only if the governmental entity offers specific and articulable

facts showing that there are reasonable grounds to believe that the . . . records

or other information sought, are relevant and material to an ongoing criminal

investigation." Id. at 2703(d).

      Here, Porter does not allege that the Magistrate Judge lacked

jurisdiction over the Government's § 2703(d) application. Nor does he

contend that the application contained some technical error. Rather, he

argues that because that application"relied, in large part, on . . . Officer Gast’s

[Field Interview Card] linking Mr. Porter to Nemesis Bates’ Mercedes" the

historical cell site records must be suppressed as fruits of the poisonous tree.

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      "[T]he exclusionary rule prohibits the introduction at trial of all evidence

that is derivative of an illegal search, or evidence known as the 'fruit of the

poisonous tree.'" United States v. Hernandez, 670 F.3d 616, 620 (5th Cir.

2012) (quoting United States v. Singh, 261 F.3d 530, 535 (5th Cir. 2001)).

"The primary limit on this rule is that otherwise suppressible evidence will still

be admitted if the connection between the alleged illegality and the acquisition

of the evidence is 'so attenuated as to dissipate the taint.'" Grosenheider, 200

F.3d at 327 . One example of this "attenuation" limitation is the independent

source doctrine, which provides that "information which is received through

an illegal source is considered to be cleanly obtained when it arrives through

an independent source." United States v. Hearn, 563 F.3d 95, 102 (5th Cir.

2009) (citing Murray v. United States, 487 U.S. 533, 538–39 (1988)). For

example, seizure of evidence pursuant to a warrant may satisfy the

independent source exception, resulting in the admission of evidence obtained

during the lawful search. Id. When a warrant application relies on unlawfully

obtained information, however, the Government must make two showings:

"(1) that the police would still have sought a warrant in the absence of the

illegal search; and (2) that the warrant would still have been issued (i.e., that

there would still have been probable cause to support the warrant) if the

supporting affidavit had not contained information stemming from the illegal

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search." United States v. Runyan, 290 F.3d 223, 235 (5th Cir. 2002); see also

United States v. Hassan, 83 F.3d 693, 697 (5th Cir. 1996).

      Having reviewed the available record, the Court finds that the

Government meets its burden with respect to both prongs of the analysis. As

to the first prong, the Government contends that a significant amount of

investigatory work preceded its application for historical cell site records. The

Government further contends that authorities did not pursue a court order for

those records until after they received evidence from several different sources

suggesting Porter's involvement in the murder of Christopher Smith. Finally,

the Government contends that Gast's traffic stop, which occurred two years

before the application was filed, played a de minimus role in the

investigation.13

      The Government's § 2703(d) application supports these assertions. In

the nine-page application, the Government outlined the status of its then-

ongoing murder investigation in detail. The Government identified numerous

sources of evidence suggesting Porter's involvement in the Smith murder.

This evidence included, among other items: a ballistics analysis indicating that

the firearm used to kill Christopher Smith was also used in the attempted



      13
            R. Doc. 335 at 13-15.

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murder of John Matthews, a crime for which Porter was charged; statements

by CS1 indicating that CS1 had seen Porter and Aaron Smith at Bates's carwash

and that Bates indicated that he owed both men money for killing Christopher

Smith; statements from Aaron Smith indicating that he was Porter's associate;

phone records that document contacts between Aaron Smith, Bates, and a

number believed to be associated with Porter on the day Christopher Smith

was killed; and statements by CS2, a "close associate" of Porter's, indicating

that Porter told CS2 that Bates hired Porter and Aaron Smith to kill someone.14

While the application also refers, in a single sentence, to Gast's traffic stop, it

is clear from the evidence outlined elsewhere in the application that the

Government would have sought the historical cell site records that it believed

to be associated with Porter even if Gast's traffic stop had never occurred. Cf.

United States v. Getachew, 364 F. App'x 931, 934 (5th Cir. 2010) (applying

independent source rule when officer who executed warrant testified that the

warrant was sought based on evidence untainted by an illegal protective

sweep); United States v. Cabaniss, 286 F. App'x 196, 199 (5th Cir. 2008)

(finding that even if stop of defendant's vehicle was unlawful, independent

source rule applied to subsequent search when search warrant application was



      14
           See R. Doc. 335-2.

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primarily supported by a confidential informant's tip and the supporting

affidavit demonstrated that "the police had corroborated numerous details of

this particular tip apart from any fruit of the allegedly unconstitutional

seizure").

      The second prong is also satisfied for similar reasons. To establish that

a search warrant would still have been issued even without reference in the

supporting affidavit to information derived from the illegal search, the

Government need not provide subjective proof that the magistrate in fact

would have issued the warrant without that evidence. See Runyan, 290 F.3d

at 236 (citing United States v. Restrepo, 966 F.2d 964, 970 (5th Cir. 1992)).

Rather, it must show only that, purged of taints, the warrant contained

sufficient evidence to constitute probable cause for its issuance. Id. Here,

however, the Government obtained the historical cell site records not through

a search warrant but, rather, by securing a court order under the SCA, 18

U.S.C. § 2703(d). Such applications require "a lesser showing than the

probable cause standard that is required by the Fourth Amendment to obtain

a warrant." In re U.S. for Historical Cell Site Data, 724 F.3d 600, 606 (5th

Cir. 2013). The entity requesting records pursuant to § 2703(d) need only

demonstrate "specific and articulable facts" showing "reasonable grounds to

believe" that the records are "relevant and material to an ongoing criminal

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investigation." 18 U.S.C. § 2703(d). Thus, the relevant inquiry in this case is

whether, after excising the information obtained during Gast's allegedly

unlawful traffic stop, the Government's § 2703(d) application contained

sufficient facts to demonstrate that the historical cell site records were relevant

and material to the investigation.

      In any event, the Government's § 2703(d) application is sufficient under

either standard.        Purged of all unlawful material, the application and

supporting affidavit provide enough evidence to support either a finding of

"specific and articulable facts" or of probable cause. Among other evidence

suggesting Porter's involvement in the murder of Christopher Smith, the

affidavit described statements from CS2, a "close associate" of Porter's. CS2

told authorities that Porter had revealed to CS2 that Porter and Aaron Smith

killed someone for a man who works at a carwash.15 According to CS2, Porter

said that man was unable to pay the entire cost of the hit, so he instead let

Porter borrow his black Mercedes Benz and also rented a red Toyota Camry for

Porter to drive as partial payment.16 Statements from another confidential

source, CS1, provided partial corroboration. According to the Government's

affidavit, CS1 told authorities that, after Christopher Smith's murder, he/she

      15
            Id. at 7.
      16
            Id.

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was with Bates at Bates's carwash when two men approached and handed

Bates keys to Bates's black Corvette.17 When CS1 asked Bates why he lent his

car to those men, Bates replied that he owed them money for killing

Christopher Smith.18 Later, CS1 identified the men from two photo lineups as

Porter and Aaron Smith.19

      Other evidence in the affidavit corroborates the accounts of both

confidential sources. As to Porter's alleged involvement in the murder-for-

hire, the affidavit states that a ballistics analysis of the firearm used to kill

Christopher Smith indicated that the same weapon was also used in the

attempted murder of John Matthews, a crime for which Porter was charged.20

As to the relationship between Porter, Aaron Smith, and Bates, the

Government's application states that Aaron Smith informed investigating

agents that he was an associate of Porter's;21 Aaron Smith's call records

revealed that on the day of Christopher Smith's murder, Aaron Smith received




      17
            Id. at 4.
      18
            Id.
      19
            Id. at 5.
      20
            Id. at 2.
      21
            Id. at 5.

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an incoming call from a number that investigators knew to be used by Porter;22

and call records further revealed that the number that investigators knew to

be used by Porter also called Bates several times in November and December

2010, after Christopher Smith was killed.23 Finally, as the confidential sources'

account that Bates owed Porter money for the murder and lent him cars as

partial payment, the affidavit states that days after Christopher Smith was

murdered, a Florida Highway Patrol officer stopped Porter while Porter was

driving a vehicle rented in Bates’s name. Consistent with CS2's account, the

vehicle was a red Toyota Camry.24

      It is true that Gast's traffic stop provided some additional corroboration

on one aspect of CS2's account by placing Porter in Bates's black Mercedes in

addition to the rented Toyota Camry. Even without this information, however,

the remaining evidence in the Government's § 2703(d) application

demonstrated "specific and articulable facts" showing "reasonable grounds to

believe" that records for a phone believed to be associated with Porter were

"relevant and material" to the investigation into the murder of Christopher

Smith. 18 U.S.C. § 3703(d).       Indeed, the statements provided by both


      22
            Id. at 5-6.
      23
            Id. at 7.
      24
            Id. at 7-8.

                                       15
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confidential sources, which were corroborated by one another and by other

evidentiary sources, provided probable cause to believe that the phone records

would contain evidence implicating Porter in that crime. See United States v.

Thomas, 627 F.3d 146, 159 (5th Cir. 2010) (noting that "[a] probable cause

determination is a practical, common-sense decision as to whether, given all

the circumstances set forth in the affidavit, there is a fair probability that

contraband or evidence of a crime will be found in a particular place"); United

States v. Satterwhite, 980 F.2d 317. 321 (5th Cir. 1992) (approving of an

affidavit that "provided the magistrate with facts, and not mere conclusions");

see also United States v. Shugart, 889 F. Supp. 963, 970-71 (E.D. Tex. 1995),

aff'd, 117 F.3d 838 (5th Cir. 1997) (finding that affidavit relating information

from confidential informant supported finding of probable cause when

Government did not rely exclusively on uncorroborated accusations of

confidential informant but conducted independent investigation to

corroborate information); United States v. Glover, No. CIV.A. 11-290, 2012

WL 3548039, at *8 (E.D. La. Aug. 16, 2012) ("Even without the information

in the affidavit concerning contraband in the residence, the tip from [Drug

Enforcement Administration] Phoenix, when corroborated by agents with

[Drug Enforcement Administration] New Orleans, provided probable cause

that contraband would be found in the residence.").

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      Because the Government would have sought an order mandating the

disclosure of the historical cell site records even had Gast never conducted an

allegedly unlawful traffic stop, and because the Magistrate Judge's § 2703(d)

court order would still have issued even without evidence of that event, the

Court concludes that the records were obtained through an independent

source. Thus, they need not be suppressed.



III. CONCLUSION

      For the foregoing reasons, the Court DENIES Porter's motion to

suppress.

            New Orleans, Louisiana, this 18th
                                         ___day of February, 2015.

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                            SARAH S. VANCE
                     UNITED STATES DISTRICT JUDGE




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